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UNITED STATES BANKRUPTCY COURT                                        SOUTHERN DISTRICT OF TEXAS


                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

          Division                   Houston              Main Case Number            23-90086
          Debtor            In Re:                   TEHUM CARE SERVICES, INC.


This lawyer, who is admitted to the State Bar of                   Arizona                  :

                       Name                             Adam B. Nach
                       Firm                             Lane & Nach, P.C.
                       Street                           2001 East Campbell Avenue, Suite 103
                 City & Zip Code                        Phoenix, AZ 85016
                    Telephone                           602-258-6000
                                                        Arizona Bar No. 013622
             Licensed: State & Number

Seeks to appear as the attorney for this party:

 JENNIFER POWER, individually and on behalf of the statutory beneficiaries of MONNIE WASHBURN, Deceased


 Dated: 2/22/23                           Signed: /s/ Adam B. Nach




 COURT USE ONLY: The applicant’s state bar reports their status as:                              .



 Dated:                                   Signed:
                                                          Deputy Clerk



                                                     Order


                                     This lawyer is admitted pro hac vice.

Dated:
                                                           United States Bankruptcy Judge
